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                                    1950


    1                        UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY
    2

    3    JUICE ENTERTAINMENT, LLC,           .
                                             .
    4           Plaintiffs,                  . Case No. 11-cv-07318-ccc-clw
                                             .
    5    vs.                                 .
                                             . Newark, New Jersey
    6    LIVE NATION ENTERTAINMENT,          . September 27, 2019
         INC.,                               .
    7                                        .
                Defendants.                  .
    8

    9                        TRANSCRIPT OF ORAL OPINIONS
                        BEFORE THE HONORABLE CATHY L. WALDOR
    10                     UNITED STATES MAGISTRATE JUDGE

    11
         APPEARANCES:                No attorneys present.
    12

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    17
         This oral opinion has been reviewed and revised in
    18   accordance with L. Civ. R. 52.1

    19   Proceedings recorded by electronic sound recording;
         transcript produced by transcription service.
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    1                                 I N D E X

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         Proceeding                                                 Page
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          Judge’s Opinions                                          3
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    1                   (Commencement of proceedings 12:23 P.M.)

    2

    3                  THE COURT:        It’s 12:23 on September 27th, 2019.

    4    This is an oral opinion in Juice Entertainment versus Live

    5    Nation, 11-cv-07318.            This is a motion to strike plaintiff’s

    6    expert report, and plaintiff alleges unclean hands, an

    7    unclean hands theory in that the defendant was often

    8    recalcitrant, or late, or non-compliant with discovery; and

    9    attaches, has 200 pages of exhibits ECF-109-1, that include

    10   letters to the Court, and motions to compel, as illustrating

    11   actual discovery disputes, and Court resolution that caused

    12   those delays.

    13                 Plaintiff further argues that, due to defendant’s

    14   late submission of discovery in May 2016, that was necessary

    15   to prepare the proposed expert report, which was disclosed on

    16   June 6th, 2019, was the cause of the delay in the late report,

    17   some three years after discovery was available to plaintiff.

    18                 Of note in this litigation, original counsel was

    19   substituted on September 7th, 2019.              A motion for summary

    20   judgment was filed on October 17th, 2016, ECF-73.                   Opposition

    21   on December 19th, 2016, ECF-75.             And reply on January 23rd,

    22   2017, ECF-76.        Judge Walls issued his opinion and order, that

    23   ECF-81 and 82, on May 23rd and 24th of 2018.

    24                 Judge Walls held that only nominal damages can be

    25   recovered on the defamation claim.               “Plaintiff’s defamation
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    1    claim can survive summary judgment.               However, because of the

    2    Presumed Damages Doctrine, any recovery at trial, on the

    3    defamation claim, will be limited to those nominal damages.”

    4    ECF-81 at page 18.

    5                  Furthermore, Judge Walls decided that, “While

    6    plaintiffs may have successfully promoted and produced

    7    smaller shows, the Event was of a much larger scale, and

    8    plaintiff’s sole foray into larger scale outdoor event

    9    production resulted in losses, not profits.                  Lost profit

    10   damages are thus too remote and speculative to meet the legal

    11   standard of reasonable certainty.”               RSB citing RSB Lab

    12   Services, 368, N.J. Super. 556.              That’s ECF-81 at page 20.

    13                 Judge Walls granted summary judgment as to count

    14   one, tortious interference with contract; and limited damages

    15   on count three, the defamation claim; and precluded damages

    16   on count two.

    17                 Plaintiff now submits to defendant an expert report

    18   on damages, which was not supplied to the Court in its

    19   opposition to the motion to strike.               Defendant moves to

    20   strike the report due to a lack of timeliness, which with the

    21   Court agrees.

    22                 Furthermore, any proposed expert report is in

    23   contravention of Judge Walls’ summary judgment opinion and

    24   order, and hints at this Court reversing his opinion.

    25                 For the above stated reasons, the motion to strike
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    1    is granted.       And motion docket number 105 will be terminated.

    2    An order will follow.

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    4                  (Conclusion of Proceedings at 12:27 P.M.)

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          Certification

    1                                       Certification

    2          I, JENNY POWER, Transcriptionist, do hereby certify

    3    that the 5 pages contained herein constitute a full, true,

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    8    many cases the spellings were educated guesses; that the

    9    transcript was prepared by me or under my direction and was

    10   done to the best of my skill and ability.

    11         I further certify that I am in no way related to any of

    12   the parties hereto nor am I in any way interested in the

    13   outcome hereof.

    14

    15   /S/Jenny Power
         _________________________________
                                                           1st of October, 2019
                                                           _____________________
    16   Signature of Approved Transcriber                          (Date)

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